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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            MCALLEN DIVISION

DANIEL NUNEZ                               §
                                           §       Civ. No. 7:16-CV-702
vs.                                        §
                                           §       Crim. No. 7:12-CR-191-1
UNITED STATES OF AMERICA                   §

    UNITED STATES’ MEMORANDUM IN RESPONSE TO § 2255 MOTION

       The United States of America (“the Government”) submits this memorandum

in response to the 28 U.S.C. § 2255 Motion to Vacate, Set Aside, or Correct Sentence

filed by Daniel Nunez (“Nunez”). (DE 858). 1 The United States respectfully

requests that this Court:

       (1)    Conduct an evidentiary hearing limited to the issue of whether Nunez
              has satisfied the standards set forth in United States v. Cervantes, 132
              F.3d 1106, 1110 (1998), regarding the validity of a guilty plea that may
              have been induced by counsel’s unkept promises; and
       (2)    Because the record conclusively shows that no relief is appropriate—
              Nunez’s remaining claims are substantively meritless—the
              Government respectfully requests that this Court deny Nunez’s
              remaining claims without further proceedings. United States v. Santora,
              711 F.2d 41 (5th Cir. 1983).

I.     Background

       On February 21, 2012, a Federal Grand Jury in the McAllen Division of the



1
  “DE” refers to the docket entry in Case No. 7:12-CR-191-1 in the United States District Court
for the Southern District of Texas. Page references are to the page number provided in the ecf-
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United States District Court for the Southern District of Texas returned a three-count

indictment charging Nunez with one count of conspiracy to possess with intent to

distribute 1,000 kilograms or more of marijuana, in violation of 21 U.S.C.

§§ 841(a)(1) and 846, one count of possession with intent to distribute 100 kilograms

or more of marijuana (497 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18

U.S.C. § 2, and one count of possession with intent to distribute 1000 kilograms or

more of marijuana (1,043 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18

U.S.C. § 2. (DE 46). On May 29, 2012, the Federal Grand Jury returned a ten-count

second superseding indictment charging Nunez with:

      (1) Conspiracy to possess with intent to distribute 1,000 kilograms or more of
          marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and 846;

      (2) Conspiracy to engage in money laundering, in violation of 18 U.S.C.
          § 1956(a)(2)(A) and (h);

      (3) Possession with intent to distribute 100 kilograms or more of marijuana
          (314 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18 U.S.C. § 2;
      (4) Engaging in money laundering in violation of 18 U.S.C. § 1956(a)(2)(A)
          and 18 U.S.C. § 2;

      (5) Possession with intent to distribute 100 kilograms or more of marijuana
          (497 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18 U.S.C. § 2;

      (6) Possessing with intent to distribute 100 kilograms or more of marijuana
          (409 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18 U.S.C. § 2;

      (7) Possession with intent to distribute 1000 kilograms or more of marijuana
          (1,272 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18 U.S.C.
          § 2;

      (8) Possession with intent to distribute 1000 kilograms or more of marijuana
          (1,181 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18 U.S.C.
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              § 2;

          (9) Possession with intent to distribute 1000 kilograms or more of marijuana
              (1,243 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and 18 U.S.C.
              § 2; and

          (10) Possession with intent to distribute 1000 kilograms or more of
             marijuana (1,263 kilograms), in violation of 21 U.S.C. §§ 841(a)(1) and
             18 U.S.C. § 2. (DE 193).
          Nunez’s attorney filed the following pretrial motions on November 5, 2012:

              (1) Motion for hearing to determine the existence of conspiracy (DE 330);

              (2) Motion for disclosure of favorable treatment or threats to Government
                  witness (DE 331); and

              (3) Motion for Jencks Act material (DE 332).
However, on May 29, 2014, Nunez elected to plead guilty, pursuant to a plea

agreement, to count one, conspiring to possess with intent to distribute 1,000

kilograms or more of marijuana and count two, conspiring to engage in money

laundering. (DE 380; DE 787 at 6-8). The Court calculated Nunez’s offense level to

be 45, as reflected in the table below:

    PSR 2 ¶          USSG Section (2012        Basis                                 Offense
                     Edition)                                                        Level
    134              2D1.1(c)(2)               Base offense level for
                                               conspiring to possess 10,000 to
                                               30,000 kilograms of marijuana               36
    135              2D1.1(b)(1)               Offense involved the
                                               possession of a dangerous
                                               weapon (including firearm)                  +2


2
 All “PSR ¶” citations refer to the presentence investigation report prepared on April 10, 2013.
(DE 677).

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136          2D1.1(b)(12)             Nunez maintained a premises
                                      for the purpose of
                                      manufacturing or distributing a
                                      controlled substance                 +2
137          2D1.1(b)(14)(E)          Nunez received an adjustment
                                      under § 3B1.1 (Aggravating
                                      Role) and he committed the
                                      offense as part of a pattern of
                                      criminal conduct engaged in as
                                      a livelihood                         +2
140          3B1.1(a)                 Nunez was deemed an
                                      organizer or leader of a
                                      criminal activity that involved
                                      five or more participants and
                                      the activity was otherwise
                                      extensive                            +4
142                                   Adjusted offense level               46
143          2S1.1(a)(1)              Base offense level for
                                      conspiring to launder money          42
144          2S1.1(b)(2)(B)           Nunez was convicted under 18
                                      U.S.C. § 1956                        +2
146          3B1.1(a)                 Nunez was deemed an
                                      organizer or leader of a
                                      criminal activity that involved
                                      five or more participants and
                                      the activity was otherwise
                                      extensive                            +4
148                                   Adjusted offense level               48
151         3D1.4                     Greater adjusted offense level       48
Not in      3E1.1(a)&(b)              Nunez accepted responsibility
PSR,                                  for the offense
applied at
sentencing,
DE 790 at
4.                                                                          -3
179; DE                               Total offense level
790 at 4.                                                                  45

      Nunez’s prior criminal history placed him in Criminal History Category I,

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yielding an advisory guideline range of life imprisonment. (PSR ¶ 179). Nunez made

several attempts to qualify for a departure, under U.S.S.G. § 5K1.1, for substantial

assistance to the Government. (See DE 788 & 789). However, the Government failed

to file a motion under § 5K1.1 because Nunez’s cooperation did not rise to a level

that would warrant a departure for substantial assistance. (See DE 790 at 4). On May

20, 2013, Nunez’s attorney filed the following objections to the PSR:

         (1) The amount of drugs which resulted in a base offense level of 36 (DE
            701 at 1);

         (2) The two-level firearm enhancement (Id. at 2);
         (3) The two-level enhancement for maintaining a premises for the purpose
             of manufacturing or distributing a controlled substance (Id.);

         (4) The two-level enhancement for committing the offense as part of a
             pattern of criminal conduct engaged in as a livelihood (Id.);
         (5) The four-level enhancement for being an organizer or leader of a
             criminal activity that involved five or more participants and the activity
             was otherwise extensive (Id.);

         (6) The greater adjusted offense level being 48 (Id. at 3); and

         (7) The failure to credit Nunez with a three-level reduction for acceptance
             of responsibility (Id.).

      On July 1, 2013, the Court granted Nunez’s motion to allow the substitution

of new counsel and Nunez’s prior counsel were allowed to withdraw. Nunez’s new

counsel filed additional objections to the PSR, primarily to the different seizures of

marijuana that were attributed to Nunez as well as to all the enhancements Nunez

received (except the role enhancement). (See DE 762). At the sentencing hearing on

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April 24, 2014, Nunez’s counsel renewed and argued his objections to the PSR,

however the Court denied all of Nunez’s objections to the PSR. (See DE 790 at 17,

26, 29, and 34). The Court also denied Nunez’s request for a downward variance.

(DE 790 at 41). The Court adopted the findings contained in the PSR and imposed a

sentence of life imprisonment as to count one and twenty years as to count two. (DE

790 at 39; DE 775).

      The judgment against Nunez was entered on May 2, 2014, (DE 775), and he

appealed his sentence. (DE 779). However, the Fifth Circuit Court of Appeals

affirmed Nunez’s sentence on May 29, 2015. See United States v. Nunez, 604 Fed.

App’x. 353 (5th Cir. 2015), cert. denied, 136 S. Ct. 338, (2015). Nunez filed a writ

of certiorari with the Supreme Court, which was denied on October 13, 2015. Id.

Nunez’s judgment became final on October 13, 2015, the date his petition for writ

of certiorari was denied. See United States v. Thomas, 203 F.3d 350, 356 (5th Cir.

2000) (stating that a federal conviction becomes “final” for § 2255(1) purposes when

the Supreme Court denies the petition for writ of certiorari).

      On October 12, 2016, Nunez, through his attorney, filed a Motion to Vacate

Sentence under 28 U.S.C. § 2255 with the District Clerk. (DE 858). Because Nunez’s

motion was filed within one year from the date his judgment became final, it is

timely. See 28 U.S.C. § 2255(f)(1). This Court has jurisdiction under 28 U.S.C. §§

1331 and 2255.


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       Nunez’s motion puts forth the following grounds for relief:

       (1) Nunez’s plea of guilty was not made knowingly or voluntarily because of
           ineffective assistance of counsel (DE 858 at 30-39);

       (2) Whether Nunez’s counsel was ineffective for failing to conduct an
           adequate and independent pretrial investigation (Id. at 33-35);

       (3) Whether Nunez’s counsel was ineffective for failing to file substantive
           pretrial motions (Id. at 33-35); and

       (4) Whether Nunez’s counsel was ineffective for failing to negotiate a
           favorable plea agreement (Id. at 38-39).

       As set forth below in more detail, ordinarily, if a defendant can show that he

would be entitled to relief if his factual allegations are true, the district court must

hold an evidentiary hearing to determine the validity of Nunez’s assertions.” United

States v. Alanis, 88 F. App’x 15, 19 (5th Cir. 2004). Accordingly, the Government

respectfully requests that this schedule a hearing on the limited issue of whether

Nunez would have pled guilty but for the ineffective assistance of counsel.

       Nunez’s remaining claims cannot support relief. As discussed below, these

claims fail because Nunez fails to satisfy his burden under Strickland.

II.    Applicable Law
       A.    Section 2255
       Motions pursuant to 28 U.S.C. § 2255 may only seek relief for particular types

of errors. United States v. Cervantes, 132 F.3d 1106, 1109 (5th Cir. 1998). While a

movant may raise a jurisdictional or constitutional claim, a § 2255 motion “may not

do service for an appeal.” United States v. Frady, 456 U.S. 152, 165 (1982). If the

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claim asserted in a § 2255 motion could have been raised on direct appeal, but was

not, the issue is considered to be procedurally defaulted; before a movant can obtain

relief under § 2255, he must show cause for his failure to raise the issue on appeal

and “actual prejudice” resulting from the error. Cervantes, 132 F.3d at 1109.

Conversely, where an issue is raised and decided on direct appeal, that issue may not

be relitigated in a motion pursuant to § 2255. United States v. Webster, 392 F.3d

787, 791 (5th Cir. 2004); United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986).

      A movant may also raise certain other claims under § 2255 that could not have

been raised in a direct appeal, but to obtain relief on such a claim, the movant must

establish that allowing the alleged error to go uncorrected “would result in a

complete miscarriage of justice.” Id.

      Where the motion and record of the case show that no relief on the § 2255

motion is appropriate, the motion may be resolved without an evidentiary hearing.

United States v. Santora, 711 F.2d 41, 42 (5th Cir. 1983). Denial of a § 2255 motion

without an evidentiary hearing is akin to a ruling on a motion for summary judgment.

United States v. Poindexter, 492 F.3d 263, 267 (4th Cir. 2007). “Summary judgment

is proper if there is no genuine issue as to any material fact and the moving party

[here the § 2255 respondent] is entitled to judgment as a matter of law.” Casey v.

Stephens, 161 F. Supp. 3d 496 (S.D. Tex. Feb. 9, 2016) (citing Fed. R. Civ. P. 56(a)).

“The law of summary judgment is well known . . . and the summary judgment


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standards most relevant here are well established: the Court must accept the

nonmovant’s evidence as true; it must draw all reasonable inferences from that

evidence in the light most favorable to nonmovant; and it must avoid making

credibility determinations.” Scandinavian Bunkering, A.S. v. Norfield Shipping, A.S.,

2016 WL 824708, at *1 (S.D. Tex. Feb. 9, 2016).

      B.     Ineffective assistance of counsel

      To prevail on a claim of ineffective assistance of counsel, a defendant must

satisfy the familiar two-prong analysis set forth in Strickland v. Washington, 466

U.S. 668 (1984); United States v. Willis, 273 F.3d 592, 598 (5th Cir. 2001). Under

that standard, a petitioner must demonstrate that his counsel’s performance was both

deficient and prejudicial. Id. This requires showing that counsel’s performance was

objectively unreasonable, that is, outside the broad range of what is considered

reasonable assistance. United States v. Dovalina, 262 F.3d 472, 474 - 475 (5th Cir.

2001). A petitioner must also show that the deficient performance led to an unfair

and unreliable conviction or sentence. Id.

      Counsel’s performance is strongly presumed to fall within the wide range of

reasonable professional assistance. Premo v. Moore, 562 U.S. 115, 121 (2011). To

overcome that presumption, a petitioner must “show that counsel made errors so

serious that counsel was not functioning as the counsel guaranteed the defendant by

the Sixth Amendment.” Id. at 121-22 (internal quotations omitted). “[T]he standard


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for judging counsel’s representation is a most deferential one.” Id. at 122. “The

question is whether an attorney’s representation amounted to incompetence under

‘prevailing professional norms,’ not whether it deviated from best practices or most

common custom.” Id. (emphasis added).

      If the movant fails to prove one prong, it is not necessary to analyze the other.

United States v. Bejarano, 751 F.3d 280, 285 (5th Cir. 2014) (“Failure to make the

required showing of either deficient performance or sufficient prejudice defeats the

ineffectiveness claim.” (quoting Strickland)); Armstead v. Scott, 37 F.3d 202, 210

(5th Cir. 1994) (“A court need not address both components of the inquiry if the

defendant makes an insufficient showing on one.”).

             i.    Ineffective Assistance of Counsel Related to Guilty Plea

      In Hill v. Lockhart, the United States Supreme Court held that the two-part

Strickland standard was applicable to challenges to guilty pleas based on ineffective

assistance of counsel. 474 U.S. 52, 58, 106 S. Ct. 366, 370, 88 L. Ed. 2d 203 (1985).

In Armstead, the Fifth Circuit reviewed the requirements for a successful ineffective

assistance of counsel claim in the guilty plea context. The court observed that in a

guilty plea scenario, the petitioner must prove not only that his attorney actually

erred, but also that he would not have pleaded guilty but for that error. Armstead, 37

F.3d at 206 (citing Hill v. Lockhart, 474 U.S. 52 (1985)). The defendant must

affirmatively prove prejudice; a mere allegation of prejudice is not sufficient. The


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petitioner must establish that but for his counsel’s erroneous advice he would not

have pleaded guilty but would have insisted on going to trial. Id. (citing Carter v.

Collins, 918 F.2d 1198, 1200 (5th Cir. 1990)). This assessment, in turn, will depend

in part on a prediction of what the outcome of the trial might have been. Id. (citing

Hill v. Lockhart, 474 U.S. at 56-58); Lafler v. Cooper, 132 S. Ct. 1376, 1384 (2012));

see also Young v. Spinner, 873 F.3d 282, 285 (5th Cir. 2017).

       In Lee v. United States, _ U.S. _, 137 S. Ct. 1958 (2017), the Supreme Court

examined the prejudice prong of the Strickland standard when a defendant foregoes

trial and enters a plea as a result of an attorney’s concededly unreasonable

representation. The Court held that when a defendant alleges that his counsel’s

deficient performance led him to accept a guilty plea rather than go to trial, the

question is not whether had he gone to trial, the result of the trial would have been

different than the result of the plea bargain, but rather whether the defendant was

prejudiced by the denial of the entire proceeding to which he had a right. Lee, 137

S. Ct. at 1965. Under the circumstances presented in Hill and Lee, the prejudice

prong of Strickland did not turn on “how a hypothetical trial would have played out

absent the error,” those cases turned on whether a properly advised defendant would

have proceeded to trial. Id. The inquiry under these circumstances “focuses on a

defendant’s decision-making, which may not turn solely on the likelihood of

conviction after trial.” Id.


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      In Young, the Fifth Circuit examined the circumstances underlying the

petitioner’s guilty plea and held that, despite counsel’s incorrect assessment of

Young’s sentencing exposure, Young could not demonstrate that he was prejudiced

by counsel’s deficient performance. Young, 873 F.3d 282. The Court noted the

evidence amassed against Young made an acquittal exceedingly unlikely. Young, at

287 (citing United States v. Kayode, 777 F.3d 719, 726-27 (5th Cir. 2014) (finding

that the “overwhelming evidence” on the charged offenses and lack of a viable

defense other than Kayode’s sworn testimony weighs against a finding of prejudice);

Armstead, 37 F.3d at 210 (concluding Armstead, “in light of the strong evidence

against him”—including an eyewitness lineup identification and his fingerprints

being found at the crime scene—had not shown “there is a reasonable probability

that he would not have plead[ed] guilty”). The Fifth Circuit explained that, “the

lack of any defense to the charge means that Young still had a strong incentive to

plead guilty even with a sentencing range of five to twenty years.” Stated otherwise,

the defendant had little to gain and much potentially to lose by insisting on a trial.

Id. at 287. The Young Court found additional significance in the defendant’s failure

to withdraw his plea before sentencing “even though by that time he realized he

faced a potential sentence of twenty years and had been told by counsel that seeking

withdrawal was an option.” This, the court observed, constitutes contemporaneous

evidence that Young was not inclined to risk a trial. Young’s singular interest was


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to minimize his sentence. Pleading guilty usually results in a reduction of the length

of a defendant’s sentence. Id. at 287-88.

III.     An evidentiary hearing is appropriate to resolve Nunez’s first claim
         regarding ineffective assistance of counsel.
         In his first claim, Nunez alleges that his counsel improperly induced him to

plead guilty by promising him that he would receive a maximum sentence of 10

years’ imprisonment. (DE 858 at 31; DE 859). Furthermore, Nunez submitted a

sworn affidavit by his wife, Patricia Lizette Benavidez, wherein she states that

Nunez’s attorney told her that Nunez would receive no more than 10 years’

imprisonment. (DE 858 at 31, 41). In light of the record, the Government believes it

is appropriate for the Court to conduct an evidentiary hearing. See Cervantes, 132

F.3d at 1110.

         While “a guilty plea may be invalid if induced by defense counsel’s unkept

promises . . . a defendant ordinarily will not be heard to refute her testimony given

at a plea hearing while under oath.” Cervantes, 132 F.3d at 1110. Accordingly, “a

defendant may seek habeas relief on the basis of alleged promises, though

inconsistent with representations she made in open court when entering her guilty

plea, by proving (1) the exact terms of the alleged promise, (2) exactly when, where,

and by whom the promise was made, and (3) the precise identity of an eyewitness to

the promise.” Id. “If the defendant produces independent indicia of the likely merit

of her allegations, typically in the form of one or more affidavits from reliable third

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parties, she is entitled to an evidentiary hearing on the issue.” Id. “If, however, the

defendant's showing is inconsistent with the bulk of her conduct or otherwise fails

to meet her burden of proof in the light of other evidence in the record, an evidentiary

hearing is unnecessary.” Id.

      Although Nunez’s claim is inconsistent with the “bulk” of his conduct and the

evidence in the record, Nunez appears to have at least partly met the prerequisites

set forth in Cervantes. Nunez has produced some independent indicia of merit in the

form of an affidavit from a third person (his wife) that sets out the terms of the

alleged promise (10 year maximum sentence) and when (prior to Nunez’s plea of

guilty), where (the office of Nunez’s attorney), and by whom (Nunez’s attorney) the

promise was made. (DE 858 at 41).

      Because Nunez has produced some independent indicia of the likely merit of

his claim, a hearing may be appropriate to ascertain the validity of Nunez’s factual

allegations regarding his ineffective-assistance-of-trial-counsel claim. Cisneros, 132

F.3d at 1110 (stating that “[i]f the defendant produces independent indicia of the

likely merit of [his] allegations, typically in the form of one or more affidavits from

reliable third parties, [he is] entitled to an evidentiary hearing on the issue”).

Accordingly, pursuant to the authority set forth above, the United States respectfully

requests that this Court: (1) schedule an evidentiary hearing limited to whether

Cisneros’ received ineffective assistance of counsel and was prejudiced as a result


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as articulated in Strickland v. Washington, 466 U.S. 668 (1984).

IV.     Analysis

        In light of the well-settled law set forth above, the record conclusively shows

that Nunez is not entitled to relief on any of the remaining grounds he asserts, which

should be denied without further proceedings. Santora, 711 F.2d at 41.

        A.    Nunez’s claim that his attorney was ineffective for failing to
              investigate his case fails because he cannot meet either of the
              Strickland prongs.
        Nunez’s claim that his attorney was ineffective for failing to investigate his

case fails because he does not show either deficient performance or prejudice in his

case. In order to prevail on an ineffective assistance claim for failing to investigate,

a movant must state with specificity what the investigation would have revealed and

how the evidence would have altered the outcome of the trial. See United States v.

Green, 882 F.2d 999, 1003 (5th Cir. 1989). Additionally, a movant must show that

his attorney’s failure to investigate resulted in prejudice to the defendant. Id.; see

also Woodard v. Collins, 898 F.2d 1027, 2019 (5th Cir. 1990) (stating there is no

presumption of prejudice based on a failure to investigate).

        Nunez states “[he] wanted Banker to conduct an independent pretrial

investigation, including interviewing witnesses and securing experts’ opinion.” (DE

858 at 34). Nunez further alleges, “[h]ad Banker made proceeding to trial an option

by conducting a reasonable pretrial investigation, there is a reasonable probability


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that Nunez would have received a significantly less harsh sentence.” (Id. at 34-35).

This speculative claim fails because Nunez has not demonstrated prejudice, because

he “has failed to suggest with specificity what exculpatory evidence could have been

uncovered by a more thorough investigation by [his]counsel, and has failed to show

that counsel’s [purported] failure to follow up on [his] leads was unreasonable.”

Green, 882 F.2d at 1002.

      Addressing similar conclusory allegations from a defendant, the Fifth Circuit

stated, “[defendant’s] claims here are long on generalities and short on specifics.”

United States v. Ahmad, 62 F.3d 396, 1995 WL 449667, at *2 (5th Cir. 1995). That

description applies equally well to Nunez’s failure-to-investigate claim. Nunez does

not allege with specificity what further investigation would have revealed and how

it would have altered the outcome of the case. Green, 882 F.2d at 1003. Accordingly,

his claim cannot support relief. See Ahmad, 1995 WL 449667, at *2; United States

v. Scott, 46 F.3d 66, 1995 WL 29268, at *1 (5th Cir. 1995) (“Because [movant] does

not specify what the investigation or the witnesses would have done to help him,

those allegations do not establish deficient representation.”); United States v.

Herrera-Rodriguez, No. EP-09-CV-0145-PRM, EP-08-CR-0618-PRM, 2010 WL

8032745, at *15 (W.D. Tex. Nov. 8, 2010) (2255 movant “must allege with

specificity what the investigation would have revealed and how it would have

changed the outcome”).


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      Furthermore, Nunez’s counsel directly refutes his allegations. (See DE 897).

According to Nunez’s counsel, he visited with Nunez several times to discuss the

evidence in the case and any possible defenses. (Id.). Additionally, Nunez and his

attorney met with the Government and the Government presented, in detail, the

evidence against Nunez. Because the record belies Nunez’s claim that his attorney

failed to conduct an adequate pretrial investigation, he cannot show that his attorney

was ineffective for failing to investigate his frivolous claims. Green, 882 F.2d at

1003. Even assuming arguendo, that Nunez’s attorney had failed to investigate his

claims, Nunez cannot show any prejudice because of his attorney’s alleged

“deficient” performance because Nunez cannot show how his attorney’s

performance prejudiced the outcome of his case. Id.

      Accordingly, this claim should be summarily denied.

      B.     Nunez’s claim that his attorney was ineffective for failing to file
             substantive pretrial motions fails because he cannot meet either of
             the Strickland prongs.
      In his next claim, Nunez alleges that his attorney failed to file any substantive

pretrial motions. (DE 858 at 35). Nunez argues that had his attorney filed substantive

pretrial motions in his case, “he would have [] been able to determine the strength

of the government’s case-in-chief.” (Id. at 36). Nunez further states that these

motions would have significantly aided Nunez in deciding whether to negotiate a

plea agreement or proceed to trial. As set forth below, this speculative claim fails.


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      In this instant case, Nunez’s attorney filed the following pretrial motions:

          (1) Motion for hearing to determine the existence of conspiracy (DE 330);
          (2) Motion for disclosure of favorable treatment or threats to Government
              witness (DE 331); and
          (3) Motion for Jencks Act material (DE 332).

Although Nunez lists numerous types of pre-trial motions his trial counsel could

have filed, Nunez fails to provide any details as to the applicability of any of the

mentioned motions. (See DE 858 at 35-36). Furthermore, Nunez fails to explain what

prejudice, if any, Nunez endured as a result of his attorney’s failure to file any of the

pretrial motions he lists. Nunez, simply speculates that had his attorney filed any of

these motions they would have somehow assisted Nunez in making a more informed

decision on whether to plead guilty or not. (Id. at 36).

      Conclusory allegations, whether made by a pro se litigant or by counsel, are

clearly insufficient to raise cognizable claims of ineffective assistance of counsel.

Miller v. Johnson, 200 F.3d 274, 282 (5th Cir. 2000) (citing Ross v. Estelle, 694 F.2d

1008, 2012 (5th Cir. 1983); United States v. Demik, 489 F.3d 644, 646 (5th Cir.

2007) (stating that “conclusional allegations” and general claims are insufficient to

establish ineffective assistance or to require an evidentiary hearing on that issue).

Nunez’s allegation that his attorney failed to obtain the necessary discovery for him

to make an informed decision is conclusory. Furthermore, Nunez fails to support his

claim that he was not informed or advised well enough by counsel as to whether to

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plead guilty or not. (See DE 858 at 35-37). Under Strickland, it is presumed that

counsel shared with Nunez any relevant information he had learned at this stage of

the proceeding, and Nunez has failed to rebut this presumption with his simplistic

allegations. See, e.g., Kimmelman v. Morrison, 477 U.S. 365, 381 (1986) (reiterating

that, under Strickland, “[c]ounsel's competence ... is presumed, and the [petitioner]

must rebut this presumption by proving that his attorney's representation was

unreasonable under prevailing professional norms and that the challenged action was

not sound strategy”). Furthermore, Nunez elected to plead guilty—and given the fact

that he does not provide any detailed explanation about why he would have

proceeded to trial and rejected the plea agreement, the record does not support the

conclusion that Nunez’s complaints about the discovery had any meaningful effect

on the outcome of the proceeding. See United States v. Avalos, No. CR M-12-1512-

1, 2017 WL 4326095, at *8 (S.D. Tex. July 5, 2017), report and recommendation

adopted, No. CR M-12-1512, 2017 WL 4326567 (S.D. Tex. Sept. 27, 2017).

      Because Nunez fails to provide any details as to the applicability of any of the

mentioned pretrial motions, Nunez cannot show that his attorney had a

Constitutional duty to file any of the listed pretrial motions his claim. Additionally,

Nunez cannot meet the second prong of Strickland because he cannot show that there

is a reasonable probability that, but for his counsel’s alleged unprofessional errors,

the result of the proceedings would have been different. Strickland, 466 U.S. at 694.


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      Furthermore, where a defendant claims that ineffective assistance led him to

plead guilty, in order to satisfy Strickland’s prejudice prong, he must show that “but

for counsel’s errors he would not have pleaded guilty and would have insisted on

going to trial” and that going to trial “would have given him a reasonable chance of

obtaining a more favorable result” than he received pursuant to his guilty plea.

United States v. Batamula, 823 F.3d 237, 240 (5th Cir. 2016) (en banc) (internal

citation and quotation omitted).

      Nunez fails to satisfy their burden under Batamula of alleging a non-frivolous

claim of prejudice. Nunez fails to show that he was likely to succeed at trial, nor

could he in light of the substantial evidence that would have been presented at trial

to prove their guilt (See PSR ¶¶ 38-110 (summarizing evidence)). Batamula, 823

F.3d at 241. Indeed, Nunez has failed to offer any evidence contradicting the plain

conclusion that, if he had proceeded to trial he would have been convicted. Nunez

further fails to provide any evidence that, had he gone to trial and was convicted,

that the Court would have imposed a sentence lower than the one they received

following his guilty plea.

      “Stepping back and addressing the totality of the circumstances shows that

[Nunez] fails to allege even a rational explanation” as to why he might have desired

to proceed to trial. Batamula, 823 F.3d at 241. Nunez offers no evidence that

proceeding to trial would have given him a chance at acquittal or at a lower sentence,


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only that had he known he was pleading guilty to a life sentence, he would have had

nothing to lose by going to trial. Nunez, thus, “fails to allege facts or adduce evidence

showing that the outcome of the plea process would have been different with

competent advice.” Id. at 243. “Thus, his prejudice claim is frivolous.” Id.

      Accordingly, this claim should be summarily denied.

      C.     Nunez cannot satisfy either prong of Strickland regarding his claim
             counsel was ineffective for failing to negotiate a favorable plea
             agreement.
      Nunez asserts that his counsel was ineffective because he failed to negotiate a

better plea agreement. (DE 858 at 38-39). Nunez argues that the plea agreement

Nunez’s attorney obtained from the Government “conferred absolutely no benefit

upon [Nunez].” (Id. at 38). As set forth below this claim is meritless.

      In exchange for Nunez’s plea of guilty, the Government agreed to recommend

three levels off for acceptance of responsibility and to dismiss the eight remaining

counts of the superseding indictment. (DE 380). However, Nunez “does not allege

that a better plea agreement was available to him.” Logan v. United States, No. 3:10-

CR-0143-M-(3), 2015 WL 9647598, at *8 (N.D. Tex. Dec. 11, 2015), rep. and rec.

adopted, No. 3:10-CR-0143-M-(3), 2016 WL 75079 (N.D. Tex. Jan. 6, 2016).

Further, he “makes no showing that even if the parties had reached a more favorable

agreement, the Court would have accepted it and imposed a more favorable

sentence.” Id.


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       Nunez fails to show—or to attempt to show—“that but for the ineffective

advice of counsel there is a reasonable probability” that: (1) the Government would

have extended a more favorable plea offer to him; (2) “the plea offer would have

been presented to the court (i.e., that the defendant would have accepted the plea and

the prosecution would not have withdrawn it in light of intervening circumstances)”;

(3) that the court would have accepted the terms of the plea offer; and (4) “that

[Nunez’s] conviction or sentence, or both, under the offer’s terms would have been

less severe than under the judgment and sentence that in fact were imposed.” Lafler

v. Cooper, 132 S. Ct. 1376, 1385 (2012). Accordingly, “[b]ecause [Nunez] fails to

provide any details, his claim of ineffective assistance is fatally vague.” Logan, 2015

WL 9647598, at *8.

       Accordingly, this claim should be summarily denied.

V.     Conclusion

       The United States respectfully requests that the Court schedule an evidentiary

hearing explicitly limited to Nunez’s claim that his counsel was constitutionally

ineffective for improperly inducing Nunez to plead of guilty. The Government

further requests that this Court otherwise deny Nunez’s remaining claims in his

§ 2255 motion without further proceedings because the record conclusively

establishes that he is not entitled to relief. Further, because reasonable jurists could

not disagree with the dismissal or denial of that portion of Nunez’s motion, no


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certificate of appealability should issue. See United States v. Bernard, 762 F.3d 467,

483 (5th Cir. 2014).


                                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the Government’s

Memorandum in Response to § 2255 Motion was on this 5th day of November 2018

filed by ECF and served on: all attorneys of record for the defendant via fax and/or

email.



                                      s/ Leo J. Leo III
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